           Case 3:18-sw-00271-RCY Document 1 Filed 10/17/18 Page 1 of 62 PageID# 1
AO 106(Rev. 04/10) Application for a Search Warrant



                                      United States District Court
                                                                                                                       scT n
                                                                     for the
                                                         Eastern District of Virginia         Q                clerk U.S. DISTRICT COUrtT

             In the Matter of the Search of
         (Briefly describe the property to be searched
          or iderttify the person by name and address)                            Case No,
Information associated with Gab Al, Inc. Accounts/User
IDs(gChad_Bagwell, Chad Bagwell, & Paul Rosenfeld's
  Chemist, more particularly described in Attachment A
                                            APPLICATION FOR A SEARCH WARRANT

        I, a federal law enforcement officer or an attomey for the government, request a search warrant and state under
penalty of peijury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
 See Attachment A, fully incorporated by reference herein;

located in the               Middle               District of          Pennsylvania              ,there is now concealed (identify the
person or describe the property to be seized)'.

 See Attachment B, fully incorporated by reference herein.

          The basis for the search under Fed. R. Grim. P. 41(c) is (check one or more):
                 aT evidence of a crime;
                 aT contraband, fruits of crime, or other items illegally possessed;
                 □ property designed for use, intended for use, or used in committing a crime;
                 □ a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:

             Code Section                                                         Offense Description
        18 U.S.C.§ 115(a)(1)                       Threatening Federal Officials with Intent to Retaliate on Account of, or to Interfere
                                                   with, the Performance of Official Duties
        18 U.S.C.§ 875(c)                          Transmitting Threatening Communications in Interstate Commerce
          The application is based on these facts:
        See attached Affidavit, fully incorporated by reference herein.

           sf Continued on the attached sheet.
           □ Delayed notice of                    days (give exact ending date if more than 30 days:                      ) is requested
               under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                              I Applicant's signature
                                                                                        James R. Rudisill, Special Agent, FBI
                                                                                                Printed name and title


Swom to before me and signed in my presence.


Date:            10/16/2018                                                                               JsL
                                                                                                   Judge's signature

City and state: Richmond, Virginia                                             Roderick C. Young, United States ]^?lagistn        udge
                                                                                                 Printed name and title
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                                      ATTACHMENT A


                                   Property to Be Searched

       This warrant applies to information associated with the Gab profiles as follows:

                 USERNAME                                      DISPLAY NAME
               @Chad Bagwell                                     Chad Bagwell
               @Chad Bagwell                               Paul Rosenfeld's Chemist


that are stored at premises owned, maintained, controlled, or operated by Gab AI, Inc, a company

headquartered at 700 North State Street, Clarks Summit,Pennsylvania 18411, which is located

within the Middle District of Pennsylvania.
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                                       ATTACHMENT B


                                Particular Things to be Seized

   1. Information to be disclosed by Gab

       To the extent that the information described in Attachment A is within the possession,

custody, or control of Gab AI, Inc.(Gab),including any messages, records, files, logs, or

information that have been deleted but are still available to Gab, or have been preserved pursuant

to a request made under 18 U.S.C. § 2703(f), Gab is required to disclose the following

information to the government for each account listed in Attachment A:

           a. All identity and contact information, including full name,e-mail address, physical

               address (including city, state, and zip code), date of birth, gender, hometown,

               occupation, and other personal identifiers;

           b. All past and current usemames, account passwords, and names associated with

               the account;

           c. The dates and times at which the account and profile were created, and the

               Internet Protocol("IP") address at the time of sign-up;

           d. All IP logs and other documents showing the IP address, date, and time of each

               login to the account;

           e. All data and information associated with the profile page, including photographs,

               "bios," and profile backgrounds and themes;

           f. All posts and private messages sent, received, quoted, reposted, or "liked" by the

               account, and all photographs or images included in those posts or private

               messages;
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      g. All usemames and display names of other users who have reposted, quoted, or

          "liked" posts made by the account.

      h. A list of all posts from other users that included the account usemame as a

          "mention" or replies to posts made from the account.

      i. All photographs and images in the user gallery for the account;

      j. All location data associated with the account;

      k. All data and information that has been deleted by the user;

      1. A list ofother users that the user follows and all users who are following the user;

      m. A list of all users that the account has muted or blocked;

      n. All groups created by or joined by the account;

      o. All information on the "Who to Follow" list for the account;

      p. All privacy and account settings;

      q. All records of Gab searches performed by the account, including all past searches

          saved by the account;

      r. All records pertaining to communications between Gab and any person regarding

          the user or the user's Gab account, including contacts with support services, and

          all records of actions taken,including suspensions ofthe account.

II. Information to be seized by the government

   All information described above in Section I that constitutes fhiits, evidence, and

   instrumentalities of violations of 18 U.S.C. § 115 involving users Chad Bagwell,Paul

   Rosenfeld's Chemist,@Chad_Bagwell,and related conspirators including, for each

   usemame or display name identified on Attachment A,information pertaining to the

   following matters:
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      a. Threats to assault, kidnap, or murder, a United States official, a United States

         judge, a Federal law enforcement officer, or certain other government officials

         (collectively referred to as government officials), with intent to impede,

         intimidate, or interfere with such government officials while engaged in the

         performance of official duties, or with intent to retaliate against such government

         officials on account ofthe performance of official duties.

      b. Evidence indicating how and when the Gab account was accessed or used, to

         determine the chronological and geographic context of account access, use, and

         events relating to the crime under investigation and to the Gab account holder;

      c. Evidence indicating the Gab account user's state of mind as it relates to the crime

         under investigation;

      d. The identity ofthe person(s) who created or used the usemame or display name,

         including records that help reveal the whereabouts ofsuch person(s).

      e. The identity of persons who communicated with the users targeted by this search

         about matters related to the offense conduct under investigation (referenced above

         at Il.a.), including records that help reveal their whereabouts.
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                        IN THE UNITED STATES DISTRICT COURT

                       FOR THE EASTERN DISTRICT OF VIRGINIA

                                    RICHMOND DIVISION




    IN THE MATTER OF A SEARCH OF:


    INFORMATION ASSOCIATED WITH
    GAB AI,INC. ACCOUNTS/USER IDS:                                   ^M^vvi2ni
    @CHAD_BAGWELL,CHAD                                              .ase No.
    BAGWELL,AND PAUL
    ROSENFELD'S CHEMIST THAT ARE
    STORED AT PREMISES
    CONTROLLED BY GAB AI, INC.

                    AFFIDAVIT IN SUPPORT OF AN APPLICATION

                       FOR A WARRANT TO SEARCH AND SEIZE



               I, James R. Rudisill, being duly sworn, depose and state as follows:


                                      INTRODUCTION

       1.      I am a Special Agent ofthe Federal Bureau of Investigation(FBI)and have been

so employed since August 2012. I am assigned to the Joint Terrorism Task Force, Richmond

Field Office, located in Richmond, Virginia. My principal duties include the investigation of,

among other matters pertaining to international and domestic terrorism, threats of violence in

violation ofthe laws ofthe United States.


       2.      I am a federal law enforcement officer under applicable provisions ofthe United

States Code under Rule 41(a)ofthe Federal Rules of Criminal Procedure. I have received

training on, and have experience in, the enforcement ofthe laws ofthe United States, including

the preparation and presentation of search warrants, and in executing court-ordered search

warrants. I make this affidavit in support of an application by the United States of America for a


                                                1
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warrant to search and seize evidence associated with the following accounts at Gab AI, Inc.

(hereafter Gab): @Chad_Bagwell, Chad Bagwell, and Paul Rosenfeld's Chemist, all further

described in Attachment A.


       3.      Based on the information below, I submit there is probable cause to believe the

aforementioned Gab accounts will contain evidence, as more fully identified in Attachment B,

of violations offederal law,including, but not limited to. Title 18, United States Code, Section

115(a)(1)(Threatening Federal Officials with Intent to Retaliate on Account of, or to Interfere

with, the Performance of Official Duties) and Title 18, United States Code, Section 875(c)

(Transmitting Threatening Communications in Interstate Commerce).

       4.      The Affiant bases this affidavit upon personal knowledge and observations made

during the course ofthis investigation, information conveyed to me by other law enforcement

officers assigned to this investigation, and upon my personal review ofrecords, documents, and

items lawfully obtained by third parties. This affidavit is not intended to include each and every

fact known to me or other investigating agencies, nor does it reflect all the evidence developed

during the course ofthe investigation. Instead, the Affiant has set forth sufficient information to

establish probable cause for the issuance ofthe requested search warrant. Where the contents of

documents and the actions, statements and conversations ofothers are reported herein, they are

reported in substance and in part.


                                     RELEVANT STATUTES



       5.      Threatening Federal Officials with Intent to Retaliate on Account of, or to

Interfere with, the Performance ofOfficial Duties — Title 18, United States Code, Section

115(a)(1), provides that"Whoever,threatens to assault, kidnap, or murder, a United States

official, a United States judge, a Federal law enforcement officer, or an official whose killing
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would be a crime under such section, with intent to impede, intimidate, or interfere with such

official,judge, or law enforcement officer while engaged in the performance of official duties, or

with intent to retaliate against such official,judge, or law enforcement officer on account ofthe

performance of official duties" shall be guilty of a federal offense.

        6.     Transmitting Threatening Communications in Interstate Commerce- Title 18,

United States Code, Section 875(c), provides that"Whoever transmits in interstate and foreign

commerce any communication containing any threat to kidnap any person or any threat to injure

the person of another" shall be guilty ofa federal offense.


                                         JURISDICTION



        7.     This Court has jurisdiction to issue the requested warrant because it is "a court of

competentjurisdiction" as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a),(b)(1)(A)&

(c)(1)(A). Specifically, the Court is "a district court ofthe United States ...that- has

jurisdiction over the offense being investigated." 18 U.S.C. § 271 l(3)(A)(i). Further, pursuant to

18 U.S.C. § 2703(g),the presence of a law enforcement officer is not required for the service or

execution ofthis warrant.



               PROBABLE CAUSE IN SUPPORT OF PROPOSED SEARCH

A.      Background Regarding Events in Charlottesville, Virginia in August 2017 and
        Federal Criminal Charges in the Western District of Virginia:

        8.      On August 12, 2017, a "Unite the Right"(UTR)rally was scheduled to be held

at Emancipation Park in Charlottesville, Virginia. The proclaimed purpose ofthe rally was to

protest the removal ofthe Robert E. Lee and Thomas "Stonewall" Jackson statues in

Charlottesville. Several groups and individuals espousing right-wing nationalist and/or white

supremacist views traveled to Charlottesville to attend the rally in support. One ofthose groups
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was the "Rise Above Movement"(RAM),a militant white-supremacist organization based in

Southern California. RAM espouses a white supremacy extremist ideology, additional details of

which may also be found in Attachment C. On August 12, 2017, the UTR rally was scheduled

to begin at noon.

       9.        On the morning of August 12, 2017,individuals and groups espousing white

supremacist and white nationalist beliefs tunneled into Emancipation Park. Numerous counter-

protestors attended the rally to oppose the rally and its supporters. Throughout the morning,

numerous violent encounters occurred between the white-supremacist protestors and counter-

protestors. At approximately noon,the UTR rally was declared an unlawful assembly by the

Charlottesville Police Department("CPD"), and both protestors and coimter-protestors dispersed

from the park.

       10.       The FBI has been conducting an investigation into possible violations offederal

criminal law committed by individuals allegedly associated with RAM and other groups

connected to the violent events and riots occurring in Charlottesville on August 12, 2017. As a

result ofthat investigation, on August 27,2018,four individuals associated with RAM were

charged via federal Criminal Complaint for alleged violations of Title 18, United States Code,

Section 2101 (Riots)and Title 18, United States Code, Section 371 (Conspiracy to Riot). The

named defendants are Benjamin Drake Daley, Michael Paul Miselis, Thomas Walter Gillen, and

Cole Evan White. The Criminal Complaint against one ofthose defendants(Daley), which was

filed in the Western District of Virginia, is attached herein to this affidavit as Attachment C.

The Criminal Complaint affidavit, used against all four charged defendants, was lawfully

executed and sworn to by Virginia Department of State Police, Bureau of Criminal Investigation,

Officer Dino P. Cappuzzo, who is a sworn Task Force Officer ofthe United States Department
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of Justice, Federal Bureau of Investigation(FBI) Joint Terrorism Task Force in Charlottesville,

Virginia. In connection with the investigation related to the criminal conduct referenced in the

attached Criminal Complaint, Task Force Officer Cappuzzo has been engaged in the

performance of his official duties as a sworn Task Force Officer with the FBI's Joint Terrorism

Task Force.


       11.     On October 2, 2018, Daley, Miselis, Gillen and White were arrested. These

arrests sparked almost immediate outrage in Alt-Right and white supremacist online social media

forums, to include Gab. These arrests are also the basis on which the targets ofthis warrant

made the threats and retaliatory acts directed at TFO Cappuzzo and United States Attorney for

the Western District of Virginia Thomas Cullen, more thoroughly examined in part B,below.

       12.     On October 10,2018, all four defendants charged via Criminal Complaint on

August 27, 2018, were charged by a federal Grand Jury in the Western District of Virginia with

violations of Title 18, United States Code, Section 2101 (Riots) and Title 18, United States Code,

Section 371 (Conspiracy to Riot). The pending indictment is attached to this affidavit as

Attachment D.


B.     Information Regarding Subsequent Threats Against Federal Officials Connected to
       Gab Accounts Referenced in Proposed Search.

       13.     The FBI has been conducting an investigation into possible violations offederal

criminal law committed by Chad Bagwell and others allegedly associated with white supremacy

extremist groups. The investigation was initiated by way ofintelligence obtained from an FBI

source ofinformation indicating that Bagwell and others were conspiring to commit violence

against federal agents in response to the arrest of the four RAM individuals described above.

Through continued investigation, the FBI has also learned the following with respect to the
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backgrounds for Chad Bagwell and another individual connected to the Gab accounts referenced

below:


          a. Chad Bagwell and Paul Rosenfeld's Chemist(connected to Gab Username

              @Chad_Bagwell)is known to the FBI by way ofinvestigation as a supporter of

              the National Socialist Movement(NSM)which is the modem manifestation ofthe

              American Nazi Party; NSM was one ofthe neo-fascist groups that participated in

              the Charlottesville, Virginia riot of August 12, 2017. On and prior to October 12,

              2018,@Chad_Bagwell utilized the Gab display name Chad Bagwell. At some

              point between October 12 and October 15,2018,that display name was changed.

              An October 15, 2018 review ofthe public profile with Gab Usemame

              @Chad_Bagwell revealed a new display name -"Paul Rosenfeld's Chemist."

             "Paul Rosenfeld's Chemist" is a reference to Paul M. Rosenfeld, who was

              arrested on a Criminal Complaint filed October 10, 2018 in the Southem District

              of New York by the FBI. Rosenfeld had constmcted a 200 lbs explosive device

              which he planned to deploy to the National Mall in Washington, D.C. on

              November 6, 2018(Election Day). Rosenfeld planned to detonate that device,

              killing himself and any others within the explosion's casualty-producing radius.

          b. Hunter Wallace(connected to Gab Username @occdissent) is known to the

              FBI by way of investigation and sources ofinformation as being a leading figure

              in the League ofthe South(LOS); LOS is a white nationalist extremist

              organization that advocates for the establishment of a solely Caucasian nation-

              state within the territory ofthe United States. LOS was one ofthe far-right

              extremist groups present at the Charlottesville, Virginia riot in August 2017. An
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                 October 15, 2018 review ofthe public profile with display name Hunter Wallace,

                 revealed that the Gab Usemame was @occdissent.

              c. FBI has sent prior preservation requests for these accounts. On October 15,2018,

                 the FBI emailed a letter to legal@gab.ai requesting Gab AI,Inc preserve records

                 for any accounts using the names: Chad Bagwell,Paul Rosenfeld's Chemist,

                 and @Chad_Bagwell. On October 16, 2018,the FBI received an email from

                 legal@gab.ai confirming that they had received the request.

        14.      Your affiant's investigation has revealed that the accounts referenced above have

been connected to a number of Gab posts in response to the arrests on October 2,2018

(referenced above in paragraph 11).

        Postings by Hunter Wallace(connected to Gab Username @occdissent)
        providing contextfor subsequentposts by Chad Bagwell(connected to Gab
        Username @Chad_Bagwell):

        15.      On October 2, 2018, at approximately 6:18 p.m.. Hunter Wallace posted the

following information about U.S. Attorney Cullen which was then reposted by Christopher

Cantwell^ (the FBI subsequently received the following image from a source ofinformation

depicting the October 2, 2018 repost made by @Cantwell):




' Christopher Cantwell is known to the FBI by way of investigation and sources ofinformation as a
leading figure in the Alt-Right movement,and was physically present at the tiki torch rally in
Charlottesville, Virginia, as well as during the riots occurring on August 12,2017, wherein Cantwell
participated in acts of violence against counter-protestors. Cantwell also operates a website known as
radicalagenda.com. On October 3,2018, Cantwell posted an article titled "Cooler Heads," which
discussed the four arrested individuals from RAM and mentions TFO Cappuzzo by name as the Affiant
for the complaint. Christopher Cantwell, via Gab Usemame @Cantwell, posted a link to this article on
Gab on October 3,2018.
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                 gab =MENU ^

                    O Christopher Cantwell reposteci

                                Hunter Wallace @occdissent
                               21 ininutes ago


                    Just an Obama era Deep State holdover,
                    right?

                    nomas T.Culleit



                                                            Thonus T.CuIItn was confinnsd as
                                                            Cnit«d Sutas ARom«>- for th* Wasttr
                                                            District o{\'trsisia on March 33.3016
                                                            afiar baing notniiutad b>- Prasidant
                                                            Doiutd J.Trump on Fabruat>'37.aoi
                                                            Hajgol^offijjMO^Martjygi^jor^As
                                                            uSTStornaj^lTcSSIanTstEaTj^iB
                                                            ranldnx fadaral law enforcatnant ofiici
                                                            in tha Wastam District ofWginia.a
                                                            judicial dbtrict that indudas$3 count
                                                            and 3S citias in tha wastam halfof ths
                                                            Comraonwaalth. Hadiracts
                                                            approximatah'70 amplosaas.includin
                                                            o\ar 30 Assistant   Altomasa and
                                                            Special Assutant   Attomc)^.

                                                            Tha C-S. Attomas's ofSca is rasponsib
                                                            for prosecuting fadaral crimas that
                                                            occur in tha district, induding offatisa
                                                            imuhing siolanca. firaanns.narcotics
                                                            tatTorism.child axploiution.fraud,at
                                                            public corruption. Tha ofSca also
                                                            angagas in chil atiforcamant actions,
                                                            dafaisds tha Cnitad Statas in ch-il casa
                                                            and coUacts dabts onad to tha
                                                            govanunant.
                    onus T.Cun«D.Vniwd Sutss Altom*>-
                                                            Prior to becoming IT.S. Attoraes'. Mr




    The text ofthe post reads as follows:


    "Just an Obama era Deep State holdover, right?"


       a. Below the text ofthe post is a picture ofthe biography ofThomas T. Cullen,

           United States Attorney for the Western District of Virginia, which includes a

           photograph of Cullen and a red square around the first paragraph which indicates

           that Cullen was appointed by President Donald J. Trump and confirmed on March

           22,2018. A review of Christopher Cantwell's account on Gab indicates that this

           post originally occurred on October 2,2018. Further investigation identified

           more connections between Gab Display Name Hunter Wallace and Gab

           Usemame @occdissent when the Affiant located an article entitled "Hunter

                                                        8
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              Wallace" on www.radicalagenda.com, allegedly authored by Christopher

              Cantwell. In that article, Cantwell identifies Hunter Wallace as the author of

              www.occidentaldissent.com.

       16.    On October 2, 2018, at approximately 6:22 pm. Hunter Wallace posted the

following information about US Attorney Cullen (the FBI subsequently received the following

image from a source ofinformation depicting the October 2,2018 posting):

                 •III Verizon LTE              3:40 PM              W 5^ 42%(ED'f

                  <                            6:47 PM
                                                                              Edit




                                                                                a
                                 Hunter Wallace @occdissent
                                 25 minutes ago

                        Who is US Attorney Thomas T. Cullen who was
                        at the press conference this afternoon?

                        https://www.justice.gov/usao-wdva/thomas-t-
                        cullen




                      /N   7                      O 5
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                The text ofthe post reads as follows:

       "Who is US Attorney Thomas T. Cullen who was at the press conference this afternoon?

         https://www.justice.gov/usao-wdva/thomas-t-cullen"^

         17.    Also, on October 2, 2018, at approximately 3:28 pm, Wallace posted a comment

inquiring whether Christopher Kavanaugh was the prosecutor in the RAM case as displayed

below:


                   .III Verizon LIE               3:38 PM              W     35%iZ)'^


                    <
                    ^                             3:28 PM                         Edit
                                CO




                                Hunter Wallace @occdissent
                                a few seconds ago

                        Can someone soreenshot that the prosecutor
                        in the RAM case is Christopher Kavanaugh?




                                 Write a comment...                        [GIF] B

                           (Send}
         The text ofthe post by Hunter Wallace reads asfollows:

         Can someone screenshot that the prosecutor in the RAM case is Christopher Kavanaugh?




^ This intemet address is known and confirmed by way of investigative research to the FBI as the DOJ
biography page of US Attomey Thomas Cullen, Westem District of Virginia, a screenshot of which was
subsequently utilized by Hunter Wallace, as referenced in paragraph 16.


                                                 10
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        a. Later down in the same posting, another Gab user ChuckNeely(#ShrikeForce),

            posted a link to AUSA Kavanaugh's biography page at the University of Virginia

            Law School as displayed below:

                              •tli Verizon LTE             3:22 PM                 9^ 47% MD
                                                           A gab.ai


                               gsb =MENU

                                 Score ▼


                                           GnonPerishable       ■ G io: Pr n; e:
                                           Maybe twitter Is on our side, right QAnons?
                                           They trended /^KillKavanaugh, so It is some
                                           kind of secret code, right?

                                            14 days ago



                                           Marcus Cicero >uM;f:.L.sC ceicG

                                           Is he related to Brett?

                                           14 days ago



                                           Lucius Seneca               AnisrKMW
                                           Yikes!

                                           14 days ago



                                           ChuckNeely (#ShrlkeForce) y Ci luckNce;.
                                           Read the documents
                                           https://www.iaw.vir9jnia.edu/faculty/adjunct-
                                           profi...

                                            14 days ago • edited




        The text ofthe post made by ChuckNeely (#ShrikeForce)reads asfollows:

        Read the documents...https://www.law.virginia.edu/faculty/adjunct-profi..?



^ It is known by the FBI that https://www.law.virginia.edu/faculty/adjunct-profile/crk7t/1485128 is an
intemet address that leads to AUSA Kavanaugh's biography page on the University of Virginia Law
School's website.

                                                          11
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       Postings by Chad Bagwell(connected to Gab Username @Chad_Bagwell):

       18.     On October 2,2018, at approximately 6:28 pm (after the Hunter Wallace postings

referenced above in paragraphs 15 and 16), @Chad_Bagwell posted the following comment to

Gab in reference to the federal arrests that occurred earlier that day(described above in

paragraph 11);(the FBI subsequently received the following image from a source ofinformation

allegedly depicting a post made by Chad Bagwell (via Gab Usemame @Chad_Bagwell)):



                            = MENU
                                                                            a
                              Chad Bagwell SChad^Baywell
                              ©occdissent, you wouldn't think of using
                              your considerable doxxing talents on the
                              Federal Government next, would you? We
                              start with Rosenstein, work our way down to
                              the arresting agents themselves?

                              Get ourselves a big ole' list of any System
                              Pig who's ever harmed our people in any
                              way. Could be a useful thing to have in the
                              event of, um,future contingencies.

                                   Reply • • 10 minutes ago • edited




       The text ofthe post reads as follows:

       "@occdissent, you wouldn't think of using your considerable doxxing talents on

       the Federal Government next, would you? We start with Rosenstein, work our

       way down to the arresting agents themselves? Get ourselves a big oT list ofany

       System Pig who's ever harmed our people in any way. Could be a useful thing to

       have in the event of, um,future contingencies."



                                                12
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    Your Affiant has learned the following with respect to "doxxing" through

    investigative research:

       a. "Doxxing" means the publishing of a victim's personally identifying information,

           (e.g. home address, social security number, cell phone number, social media

           accounts), on to a public website. Publicly available information on "doxxing"

           provided information stating that"doxxed" information can be posted on any

           public forum. For example, after the Charlottesville Unite the Right rally,

           individuals that were involved in violent activity were identified by members of

           Alt-Left or Anti-Fascist(ANTIFA)groups, and had their personal information

           posted on Twitter. This was one ofthe reasons why users espousing a white

           supremacist ideology switched from Twitter to Gab. Further research also

           provided information that"doxxed" information can be posted to the "dark web"

           where it can be further exploited.

       b. "Doxxed"information can be used in harmful ways such as "swatting", which is a

           form of harassment where police and emergency services respond to fictitious,

           threat-to-life law enforcement emergencies at an unsuspecting individual's

           address. "Doxxed" information is also used for other nefarious purposes such as

           stealing a person's identity, credit card fraud, placing liens on victim's credit, or

           tax return fraud, among others. A worst case scenario is that a victim's physical

           address, to either a work place or residence, could potentially be posted publicly,

           and subsequently utilized by a person wishing to locate the victim in order to

           harass, or cause or inflict physical harm or death to the victim and/or the victim's

           family.



                                             13
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        19.    On October 3, 2018, at approximately 12:39 pm,@Chad_Bagwell posted the

following on Gab (the FBI subsequently received the following image from a source of

information depicting the October 3,2018 post made by @Chad_Bagwell):


                      qa\Q> =MENU
                                ago



                        Load all comments



                     •Chad Bagwell
                                an hoLir ago
                                                      Bagweil
                         Feds arrest four of our guys? And what are we
                         going to do about it?

                        The real question to ask is, how many federal
                        agents do we have to kill before the rest of
                        them quit doing that?




Specifically, the text ofthe post reads as follows:


       "Feds arrest four of our guys? And what are we going to do about it? The real

       question to ask is, how many federal agents do we have to kill before the rest of

       them quit doing that?"




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       Posting by Paul Rosenfeld's Chemist(connected to Gab Username
       @Chad_Bagwell)
       20.     On October 14, 2018 at approximately 2:31am, Paul Rosenfeld's Chemist^

(@Chad_Bagwell)posted the following comment to his Gab account:


                          gsb =MENU V'                                       Q,

                                    Paul Rosenfeld's Chemist @chad.B.
                                    7 hours ago ■ edited

                            Yeah.


                            ...sometimes I wonder if that's the only reason
                            they give us what we still have (4chan. gab,
                            minds, VK, bitchute, et al). They'll shutter
                            those too, eventually, but for the time being
                            they want to give us enough of an echo
                            chamber so that we'll express ourselves here
                            and not in the manifestos that we write to the
                             papers after our bombs start going off.

                               >^[ RIcotta Elmar ©Ricotta pro
                                         8 hours ago

                               That would have been a far better outcome. We
                               need to be forced off the intemet. The internet is
                               keeping people from doing things that actually
                               matter, because shitposting is so much less
                               effort.




       The text ofthe post by @Chad_Bagwell reads as follows:


       "Yeah ... sometimes I wonder if that's the only reason they give us what we still have

       (4chan, gab, minds, VK,bitchute, et al). They'll shutter those too, eventually, but for the

       time being they want to give us enough of an echo chamber so that we'll express




^ As discussed above in paragraph 13(a), @Chad_Bagweli changed his display name from Chad
Bagwell to Paul Rosenfeld's Chemist.

                                                       15
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       ourselves here and not in the manifestos that we write to the papers after our bombs start

       going off."


                                              GAB AI.INC.


       21.     The information requested by way of this warrant is held by Gab at premises

located at 700 North State Street, Clarks Summit, Pennsylvania 18411, which is located within

the Middle District ofPennsylvania.

       22.     Regarding publicly available information provided by Gab,its services, including

Gab's "Privacy Policy," your Affiant is aware ofthe following about Gab and about the

information collected and retained by Gab.

       23.     Gab is considered the free speech alternative to Twitter, and is often referred to as

the Alt-Right's very own Twitter. Some consider Gab's recent popularity to be a by-product of

Charlottesville 2017"doxxing" and hate speech violations that occurred on mainstream social

media platforms such as Facebook and Twitter. In December 2017, Twitter started enforcing a

new, stricter set ofcommunity standards with a series of high-profile Alt-Right account

suspensions. The suspended Alt-Right flocked to the pseudo-Twitter platform. Gab. Gab is a

non-politically affiliated, anti-censorship platform that appears more reluctant to censor hate

speech or racist conununications and posts. As a result, it has become a haven for white

nationalists and neo-Nazis.


       24.     Gab owns and operates a free-access social-networking website ofthe same name

that can be accessed on the intemet at address https://gab.ai. Gab allows its users to create their

own profile pages, which can include a short biography, a photo of their choice, and location

information. Gab also permits users to create and read short messages as posts, and to festrict

their posts to individuals whom they approve.


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       25.     Upon creating a Gab account, a Gab user must create a unique Gab usemame and

account password, and the user may also select a different name to identify his or her Gab

account. The Gab user may also change this usemame, password, and name without having to

open a new Gab account.

       26.     Gab asks users to provide basic identity and contact information, either during the

registration process or thereafter. This information may include the user's full name,e-mail

addresses, physical address (including city, state, and zip code), date of birth, gender, hometown,

occupation, and other personal identifiers. For each user. Gab may retain information about the

date and time at which the user's profile was created, the date and time at which the account was

created, and the Intemet Protocol("IP") address at the time of sign-up. Because every device

that connects to the Intemet must use an IP address, IP address information can help to identify

which computers or other devices were used to access a given Gab account.

       27.     A Gab user can post a personal photograph or image (also known as an "avatar")

to his or her profile, and can also change the profile background or theme for his or her account

page. In addition. Gab users can post short "bios" to their profile pages.

       28.     Gab also keeps IP logs for each user. These logs contain information about the

user's logins to Gab including, for each access, the IP address assigned to the user and the date

stamp at the time the user accessed his or her profile.

       29.     As discussed above. Gab users can use their Gab accounts to post short messages.

Each post includes a timestamp that displays when the post was made to Gab. Gab users can

also "repost,""reply","quote","upvote", or "downvote" the posts of other users. In addition,

when a post includes a Gab usemame, often preceded by the @ sign. Gab designates that post a

"mention" or "tag" ofthe identified user. In the user's page on Gab, Gab provides a list of all



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posts from other users in which the user has been mentioned or tagged, a list of all the comments

to posts made by the user, and a list ofother users who have reposted a post by the user.

        30.     Gab users may send photos and images in their posts.

        31.     A Gab user can "follow" other Gab users, which means subscribing to those

users' posts and site updates. Each user profile page includes a list ofthe people who are

following the user(the user's "followers" list) and a list of people whom that user follows(the

user's "following" list). Gab users can "unfollow" users whom they previously followed, and

they can also adjust the privacy settings for their profile so that their posts are visible only to the

people whom they approve, rather than to the public(which is the default setting). A Gab user

can also group other Gab users into "groups" that display on the user's home page. Gab also

provides users with a list of"Who to Follow," which includes a few recommendations of Gab

accounts that the user may find interesting, based on the types of accounts that the user is already

following and who those people follow.

        32.     In addition to publishing posts, a Gab user can also send messages directly to one

of his or her followers. These messages are typically visible only to the sender and the recipient.

        33.     Gab users can configure the settings for their Gab accounts in numerous ways.

For example, a Gab user can configure his or her Gab account to send updates to the user's

mobile phone.

        34.     Gab includes a search function that enables its users to search all public posts for

keywords, usemames,or subject, among other things.

        35.     If a Gab user does not want to interact with another user on Gab,the first user can

"mute" the second user, preventing the post from the second user from being visible to the first

user. Additionally, Gab" users can block other users from following them.



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        36.    Gab also collects information on the particular devices used to access Gab. In

particular, Gab may record "device identifiers," which includes data files and other information

that may identify the particular electronic device that was used to access Gab.

        37.    Gab also may communicate with the user, by email or otherwise. Gab collects

and maintains copies of communications between Gab and the user.

       38.     Through training and experience, the Affiant has knowledge that domestic

terrorists and persons affiliated with white supremacist extremist conspirators and/or groups,

such as those connected to the Gab accounts for the proposed search, will utilize social media

(such as Gab), electronic mail, and other methods to conduct their illegal activity and maintain

contact with other confederates, conspirators and criminal associates involved with the planning,

targeting, and execution oftheir political or social goals to include, but not limited to, espousing

and/or inciting violence and threatening and retaliating against federal officials on account ofthe

performance oftheir official duties. The information stored in connection with a Gab account

may provide crucial evidence ofthe "who, what, why, when, where, and how" ofthe criminal

conduct under investigation, thus enabling the United States to establish and prove each element

or alternatively, to exclude the innocent from further suspicion. Based on my training,

experience, and investigative research, I know that a Gab user's account activity, IP log, stored

electronic communications, and other data retained by Gab,can indicate who has used or

controlled the Gab account. This "user attribution" evidence is analogous to the search for

"indicia ofoccupancy" while executing a search warrant at a residence. For example, profile

contact information, direct messaging logs, shared photos and videos, and captions(and the data

associated with the foregoing, such as geo-location, date and time) may be evidence of who used

or controlled the Gab account at a relevant time. Further, Gab account activity can show how



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and when the account was accessed or used. For example, as described herein, Gab logs the

Internet Protocol(IP)addresses from which users access their accounts along with the time and

date. By determining the physical location associated with the logged IP addresses, investigators

can understand the chronological and geographic context ofthe account access and use, relating

to the crime under investigation. Such information allows investigators to understand the

geographic and chronological context of Gab access, use, and events relating to the crime under

investigation.

       39.       Lastly, Gab account activity may provide relevant insight into the Gab accoimt

owner's state of mind as it relates to the offense under investigation. For example, information

on the Gab account may indicate the owner's motive and intent to commit a crime (e.g.,

information indicating a plan to commit a crime), or consciousness of guilt(e.g., deleting

account information in an effort to conceal evidence from law enforcement).

       40.       Based on the information above. Gab's computers are likely to contain all the

material described above with respect to the Gab accounts referenced in Attachment A,

including stored electronic communications and information concerning subscribers and their use

of Gab,such as account access information, which would include information such as the IP

addresses and devices used to access the account, as well as other account information that might

be used to identify the actual user or users ofthe accounts at particular times. For the purposes of

this warrant, the government is requesting the authority to search for and seize all information

referenced in Attachment B. I anticipate executing this warrant under the Electronic

Communications Privacy Act,in particular 18 U.S.C. §§ 2703(a), 2703(b)(1)(A) and

2703(c)(1)(A), by using the warrant to require Gab to disclose to the government copies ofthe

records and other information (including the content ofcommunications) particularly described



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in Section I of Attachment B. Upon receipt ofthe information described in Section I of

Attachment B,government-authorized persons will review that information to locate the items

described in Section II of Attachment B.


                                   REQUEST FOR SEALING



       41.     I further request that the Court order that all papers in support ofthis application,

including the affidavit and search warrant, be sealed until further order ofthe Court. These

documents discuss an ongoing criminal investigation that is neither public nor known to all of

the targets ofthe investigation. In light ofthe information described above, it is likely that all of

the targets ofthis investigation are continuing their criminal efforts to threaten and retaliate

against the federal officials and law enforcement officers connected to the investigation that

resulted in the criminal charges described above in paragraphs 8 through 12. Revealing the

existence ofthis investigation, and the information set forth in this affidavit, will inhibit the

investigation, result in the destruction ofpotential evidence, and may lead to the flight ofthe

named individuals and any accomplices who have yet to be identified. Accordingly, there is

good cause to seal these documents because their premature disclosure may seriously jeopardize

this investigation.




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                                        CONCLUSION



       42.     Based on the nature ofthe threat described above, your Affiant requests that the

Court issue the proposed search warrant, as well as an accompanying Nondisclosure Order to

Gab. Because the warrant will be served on Gab, who will then compile the requested records at

a time convenient to it, reasonable cause exists to permit the execution ofthe requested warrant

at any time in the day or night.




                                                                       bdisill
                                                            Special Agent Bomb Technician
                                                            Federal Bureau ofInvestigation




Subscribed and swom before me this          day of October 2018.




           JsL,
Roderick C. Young
United States Magis




                                               22
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                                      ATTACHMENT A


                                   Property to Be Searched

       This warrant applies to information associated with the Gab profiles as follows:

                 USERNAME                                      DISPLAY NAME
               @Chad Bagwell                                     Chad Bagwell
               @Chad Bagwell                               Paul Rosenfeld's Chemist


that are stored at premises owned, maintained, controlled, or operated by Gab AI,Inc, a company

headquartered at 700 North State Street, Clarks Summit,Pennsylvania 18411, which is located

within the Middle District ofPennsylvania.
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                                      ATTACHMENT B


                                Particular Things to be Seized

   L Information to be disclosed by Gab

       To the extent that the information described in Attachment A is within the possession,

custody, or control of Gab AI, Inc.(Gab),including any messages,records, files, logs, or

information that have been deleted but are still available to Gab,or have been preserved pursuant

to a request made under 18 U.S.C. § 2703(f), Gab is required to disclose the following

information to the government for each account listed in Attachment A:

           a. All identity and contact information, including full name,e-mail address, physical

              address(including city, state, and zip code), date ofbirth, gender, hometown,

              occupation, and other personal identifiers;

           b. All past and current usemames,account passwords, and names associated with

              the account;

           c. The dates and times at which the account and profile were created, and the

              Internet Protocol("IP") address at the time ofsign-up;

           d. All IP logs and other documents showing the IP address, date, and time of each

              login to the account;

           e. All data and information associated with the profile page, including photographs,

              "bios," and profile backgrounds and themes;

           f. All posts and private messages sent, received, quoted, reposted, or "liked" by the

               account, and all photographs or images included in those posts or private

               messages;
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         g. All usemames and display names of other users who have reposted, quoted, or

             "liked" posts made by the account.

         h. A list of all posts from other users that included the account usemame as a

             "mention" or replies to posts made from the account.

        i. All photographs and images in the user gallery for the account;

        j. All location data associated with the account;

        k. All data and information that has been deleted by the user;

        1.   A list of other users that the user follows and all users who are following the user;

        m. A list of all users that the account has muted or blocked;

        n. All groups created by or joined by the account;

        o. All information on the "Who to Follow" list for the account;

        p. All privacy and account settings;

        q. All records of Gab searches performed by the account, including all past searches

             saved by the account;

        r. All records pertaining to communications between Gab and any person regarding

             the user or the user's Gab account, including contacts with support services, and

             all records of actions taken, including suspensions ofthe account.

  II. Information to be seized by the government

     All information described above in Section I that constitutes fruits, evidence, and

     instrumentalities of violations of 18 U.S.C. § 115 involving users Chad Bagwell, Paul

     Rosenfeld's Chemist,@Chad_Bagwell,and related conspirators including, for each

     usemame or display name identified on Attachment A,information pertaining to the

     following matters:
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        a. Threats to assault, kidnap, or murder, a United States official, a United States

           judge, a Federal law enforcement officer, or certain other government officials

           (collectively referred to as government officials), with intent to impede,

           intimidate, or interfere with such government officials while engaged in the

           performance ofofficial duties, or with intent to retaliate against such government

           officials on account ofthe performance of official duties.

       b. Evidence indicating how and when the Gab account was accessed or used, to

           determine the chronological and geographic context of account access, use, and

           events relating to the crime under investigation and to the Gab account holder;

       c. Evidence indicating the Gab account user's state of mind as it relates to the crime

           under investigation;

       d. The identity ofthe person(s) who created or used the usemame or display name,

           including records that help reveal the whereabouts of such person(s).

       e. The identity of persons who communicated with the users targeted by this search

           about matters related to the offense conduct under investigation (referenced above

           at Il.a.), including records that help reveal their whereabouts.
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                                                                        K      >y :<      ^

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                                      United States District Court                                                 AUG 2 7 2018
                                                                for the

                                                    Western District ofVirgmia

                   United States ofAmerica                          )
                                 V.                                 )
                                                                    )       Case No     5'.VgifY^ooo^S
                                                                    )
                                                                    )
                    Benjamin Drake Daley                            )
                                                                    )
                           Defendani(s)


                                                CRIMINAL COMPLAINT

          I, the conqilamant in this case, state that the following is true to the best of my knowledge and belief.
 On or about the date(s)of                August 11-12,2017               in the county of             Charlottesvliie           in the

        Western        District of           Virginia           the defendant(s) violated;

             Code Section                                                    Offense Description
 18U.S.C.§2101                                 Riots


 18U,S.C.§371                                  Conspiracy to Riot




          This criminal complaint is based on these facts:
                                                                                                   ^           Copy
See Attached Affidavit




         Sf Continued on the attached sheet.



                                                                                      Dino Cappuzzo, Task Force Officer
                                                                                             Printed name and title


Sworn to before me and signed in my presence.


Date:           08/27/2018
                                                                                                 Judge'ss^nature

City and state:                  Chariottesville, Virginia                   Honorable Joel 0. Hoppe, U.S. Magistrate Judge
                                                                                             Printed name and title


                                                             ATTACHMENT
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                                      1   '■•S   Ri




                            IN THE UNITED STATES DISTEQCT COURT
                           FOR THE WESTERN DISTRICT OF VIRGINIA

                                  CHARLOTTESVILLE DIVISION




   UNITED STATES OF AMERICA




                                                      Case No.             C)003M '
                                                      Filed Under Seal
   BENJAMIN DRABCE DALEY,
   MICHAEL PAUL MISELIS,
   THOMAS WALTER GILLEN, and
   COLE EVAN WHITE



    AFFIDAVIT IN SUPPORT OF ARREST WARRANT AND CRIMINAL COMPLAINT


          I, Dine P. Cappuzzo, being first duly sworn, hereby depose and state as follows:

                        INTRODUCTION AND AGENT BACKGROUND

          1,     I am a Task Force Officer of the United States Department of Justice, Federal

  Bureau of Investigation ("FBF') and have been so employed since September 2016. I am

  assigned to the Richmond Field Office, Charlottesville Resident Agency, located in
  Charlottesville, Virginia. My principal duties include the investigation of, among other matters,

  domestic and intemational terrorism and threats to the National Seciuity of the United States.

         2.      I am a sworn law enforcement officer with the Virginia Department of State

  Police, Bureau of Criminal Investigation, and have been so employed for 22 years. Additionally,

  I am a Task Force Officer, deputized as a Deputy United States Marshal as a member of the

  Federal Bureau of Investigation's Joint Terrorism Task Force in Charlottesville, VA. I am

  charged with the duty of investigating violations of tlie laws of the United States as stated in
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   Title 28, Federal Code of Regulations, and to seek and execute arrest and search warrants

   supporting a Federal Task Force under Title 18 Authority.

          3.       Yom Affiant bases this affidavit upon personal knowledge and observations made

   during the course of this investigation, and upon my personal review ofrecords, documents, and

   items lawfully obtained by third parties, public records, and interviews. Where the contents of

   documents and the actions, statements and conversations of others.axe reported'herein, they are

  reported in substance and in part. The Affiant is familiar with the information contained in this
  affidavit based upon the investigation I have conducted to date and based on my conversations
  with other law enforcement officers who have been involved in this investigation,some of whom

  have also been engaged in numerous investigations involving domestic terrorism. Because this

  affidavit is being submitted for the limited purpose of establishing probable cause for the
  issuance of an arrest warrant, I have not included each and every fact I know about the

  investigation.
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           4.      Title 18, United States Code, Section 2101, provides that ''Whoever travels in

   interstate or foreign commerce or uses any facility of interstate or foreign commerce, including,

   but not limited to, the mail, telegraph, telephone, radio, or television, with intent 1) to incite a

   riot; or 2)to organize, promote,encourage, participate in, or carry on a riot; or 3)to commit any

   act of violence in furtherance of a riot; or 4)to aid or abet any person in inciting or participating

   in or carrying on a riot or committing any act of violence in furtherance ofa riot" shall be guilty

   ofa federal offense.

          5.      Title 18, United States Code, Section 371, provides that "If two or more persons

   conspire Q to commit any offense against the United States....and one or more ofsuch persons
   do any act to effect the object ofthe conspiracy, each shall be [guilty ofa federal offense].
                                               BACKGROUND


          6.      On August 12, 2017, a "Unite the Right" rally(UTR)was scheduled to be held at ;
  Emancipation Park in Charlottesville, Virginia. The proclaimed purpose of the rally was to
  protest the removal of the Robert E. Lee and Thomas "Stonewall" Jackson statues in
  Charlottesville. Several groups and individuals espousing right-wing nationalist and/or white

  supremacist views traveled to Charlottesville to attend the rally in support.

          7.     On the evening of August 11,2017, die night before the UTR rally of August 12,

  many ofthese groups and individuals participated in an unsanctioned torch-lit march occurred on
  the grounds of the University of Virginia, which is located in Charlottesville and in the Western

  District of Virginia. Himdreds of participants marched through a portion of the University of

  Virginia's grounds, carrying torches and shouting, for example, "Jews will not replace lis!"
  "Blood and Soil!" and "White Lives Matter!" The torch-lit march culminated at a statue of

  Thomas Jefferson located at the base of the University of Virginia's Rotunda, where the march
                                                   3
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    participants surrounded a small group of students and community members who had joined

    around the statue in counter-protest. Several students held a banner that read:"VA Students Act

    Against White Supremacy." After surrounding the smaller group of students and counter-

   protestors, the participants ofthe torch-lit march pressed in closer towards them. Moments later,
   violence erupted among the hundreds ofpeople present.

          8.       The next day, on August 12,2017,the UTR rally was scheduled to begin at noon.

   That morning, individuals and groups espousing white supremacist and white nationalist beliefs
   funneled into Emancipation Park. Numerous counter-protestors attended the rally to oppose the

   rally and its supporters. Throughout the morning, numerous violent encounters occurred
   between white-supremacist protestors and counter-protestors. Before the UTR rally could
   officially begin,law enforcement declared an unlawful assembly and cleared Emancipation Park.
          9.      Upon information and belief, among the most violent individuals present in
   Charlottesville on August 11-12, 2017 were at least four members and associates of the "Rise
   Above Movement," (RAlviQ a militant white-supremacist organization based in Southern
   Califomia, who had traveled to Charlottesville vwth the intent to encourage, promote, incite,
  participate in, and commit violent acts in furtherance of a riot, as that term is defined by 18
  U.S.C.§ 2102.

                                      PROBABLE CAUSE


          10.     Through open-source research by the FBI,it was learned that RAM maintained a
   publicly viewable Twitter page. RAM represents itselfto be a positive influence on those who
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   join their ranks, as evidenced in the following statement posted to their publicly viewable Twitter

                                          fB!S£ ABOVE MOVEMENT A
                                                    -llJhouteare-        M
                                        RAM is a neiu organMon dedicated to
                                   the promotion of an active lifestvlB and common
                                    values among young peoplefor ourfuture.This
                                    is achieved through training, creative thinking,
                                        and activism.Today,under theiirBSSure
                                     of consumer propaganda and values me have
                                        lost our pioneering spirit,the spirit ofa
                                       fighter,our uerrlor spirit! The main task
                                    of Rise Above Movement is to revive this spirit
                                    Modern societyfosters weak men,addicts,and
                                      apathy. Ule uiantto rise above ailoftoday's .
                                     dostrucHve culture and see the rebirth^ptir
                                    people,strong in mentaland physical capacities
                                    as ourforgathers mere.In a ttma uihen you can
                                     be harm^for your political beliefs orshamed ^
                                      for your herttage,uie are hBiie to defmd our
                                              Idairtitv and shared goals. .   . '
                           page:   rf i-i Trminiwr"'


          11. . Through Twitter and other social-media platforms, RAM promotes "clean living,"
  physical fitness and mixed martial arts (MMA) street lighting techniques. According to an
  article published to www.nocara.blacklogs.org on 7/06/2017, entitled "DIY Division: The
  Violent neo-Nazi Group Central to the California Alt-Right and Alt-Light Protest Movements,"
  DIY, which later re-branded itself as RAM,subscribes to "equal parts Identity Evropa's flaccid
  identitarian discourse...and the fetishization of masculinity, physical fitness, and violence mixed

  with the shallow anti-corporate and anti-consumerist themes ofthe fUniFighi Club. Propaganda
  by the group...contains...fascistic themes of emasculated young white men needing to reclaim
  their identities through learning to fight and engaging in purifying violence." Accordingly, the
  group regularly meets in public parks in the southern California area and trains in physical
  fitness, boxing, and other fighting techniques. The following photographs were obtained firom
  RAM's public Twitter page:
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                    R.A.M.@RiseAboveMvmt • Jan 24
                   Some debate about the future, others work to build it.''^altnght #naticnaiist
                   #riseabcve




         12.    Benjamin Drake Daley (DALEY,) a resident of Redondo Beach, California,
  figures prominently in the organization, and regularly appears in photographs posted to their
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    publicly viewable Twitter page. RAM also regularly posts photos ofthemselves posing shirtless
    and wearing skull half masks, with the group's name overlaying the photo, as seen below.

                                     RJLM.JSi!eAbuv«N!iBnt ■ Mai 3
                                     arvatonatiit etitu'ight




   DALRY is seen front and center, kneeling on the far left offtie first row in the photo.

          13.     RAM and its members openly identify themselves on various social media

  platforms as "alt-right" and "nationalist" and frequently posts videos and photographs ofits
  adherents,engaged in vigorous physical training and mixed martial arts(MMA)street-fighting
  techniques in order to prepare to engage in fighting and violence at political rallies.
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           14.     The four defendants, DALEY, along with fellow RAM members/associates

   Michael Paul Miselis (MISELIS,) Thomas Walter Gillen (GILLEN) and Cole Evan White
   (WHITE,) traveled to Charlottesville from California on or about August 11, 2017, and
   participated in violent encounters in Charlottesville in connection with the torch-lit march of
   August 11, 2017 and the UTR rally of August 12,2017. In addition, these RAM members have
   engaged in acts of violence at political rallies in Huntington Beach, CA (3/25/2017), Berkeley,
   CA (4/15/2017), and other places. In the screen shots below from videos posted to Youtube,the
   aforementioned individuals are seen engaging in acts ofviolence directed towards their supposed
   political opponents and counter protestors at political rallies.




  In this video, an individual believed to be DALEY can be seen attempting to kick and/or punch a
  counter protestor, while wearing a half-skull face mask consistent with those depicted in RAM s
  group photo previously noted.
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           15.     GILLEN was also present during last year's unrest in Berkeley, California, and

    can be seen in the same video repeatedly punching a counter protestor who has fallen to the

    ground.




   GILLEN,in an apparent effort to prepare to engage in physical violence, has taped his fists in the
   manner ofboxers or MMA style fighters, as evidenced photo above, right

          16.    MISELIS, who along with DALEY, is a prominent member of RAM and was

  present alongside him during the civil unrest at political rallies in Berkeley, CA and at least two
  other places. In the following photograph, MISELIS appears with his fellow RAM members and
  associates during the Berkeley riots, and like GILLEN,has taped his right fist in preparation:
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          17.    Investigators have also identified COLE EVAN WHITE as being present with

  RAM at the Charlottesville UTR rally, and who has appeared alongside RAM members during

  the unrest in Berkeley, CA in 2017. White is a San Francisco area resident, and can be seen in

  the following screenshots of footage firom the Berkeley riots in April 2017. White is the

  individual in a purple sweater with flowing platinum blonde hair, alongside MISELIS, and later
  attacking a coimter protestor:




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         18.     RAM and their associates, in contrast to their purpose referenced previously,

  openly espouse animosity, anti-Semitism, and violence towards those who hold opposite
  ideologies to their own,as evidenced by posts to their Twitter page:




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               R.A.M. <®RiseAboveMvmt • Mar 20
               ^nationalist ^cptcs




              R.A.M. ©RiseAboveMvml • Feb 15
              Shortly after this pic antifa was btfo in Huntington Beacli ^^Oefened ^America
              #iiationai>st ^altrigl-t




                                                ^         A. Jk
                             oefehd America

              O             Tl, 1        O 20        R




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                    R.A.M. ©RiseAboveMvmt • Feb 5
                    When the squads not out smashing commies.... ^nationalist ^ifestj'le




                                                                         I




          19.    The FBI has been conducting an mvestigation into possible violations of federal
   criminal law committed by individuals allegedly associated with RAM, The investigation was
  initiated following receipt of information that DALEY, GILLEN, MISELIS and WHITE,
  attended the August 11-12, 2017 "Unite the Right" Rally in Charlottesville, Va. and committed
   multiple acts of violence against counter protestors, which in some cases resulted in serious
  injuries. Photographs and video footage ifrom the evening of August 11, 2017, and from the
  morning of August 12, 2017, in Charlottesville, Virginia, corroborated the aforementioned
  information.

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          20.     Photographs and video footage have confirmed that DALEY,MISELIS,

   GILLEN,and WHITE were present and participated in the torch-lit march that culmmated in

   violence against students and other counter protestors. In the following screenshots, WHITE —

   with the apparently dyed platinum blonde hair and horizontal striped shirt — can be seen using his

   torch as a weapon on at least two occasions during the melee.




                       Mr     %




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         21.     In addition to WHITE,DALEY also engaged in acts of violence that evening. A
  search warrant ofDALEY's Facebook account revealed that he admitted to being present at the

  torch march. In the conversation, DALEY was critical of another prominent white supremacist

  for releasing a chemical spray at the march. DALEY stated that such spray was unnecessary
  because"We had the[m]completely surrounded." DALEY admitted;"I hit like 5 people." In
  March 2018,DALEY referred to "Friday[the torch march] was good... Saturday[the UTR
  rally] was a HUGE failure."

         22.    On the morning of August 12, 2017, DALEY, along with other members of
  RAM, are seen in video footage committing acts of violence, assaulting counter-protestors by
  punching,kicking and head butting on 2°*' Street NE between the High and Jefferson cross streets
  in downtown Charlottesville, Virginia. DALEY, the white male with short-cropped reddish
                                                15
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    blonde hair wearing a white long-sleeved shirt and sun glasses, and with his fists taped, can be

   seen in a screen shot fiom the footage punching and kicking a counter protestor:




          23.    At the same time, WHITE (in a white shirt, two-toned platinum hair, and

  sunglasses)joins DALEY by grabbing a non-violent counter-protestor-who was merely holding
  onto a street sign - by the shoulders and jerking him away. (Photo: below left). Afterwards,

  WHITE head-butted a clergyman — die individual in the yellow shirt with tan hat — and who was

  wearing a clerical collar. (Photo: below right).




         24.    GILLEN, as seen in a still from the footage below, has his hands taped as he did

  during the Berkeley unrest, again demonstrating his preparation for violent activity. GILLEN is


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   seen in the aforemaitioned video assisting his fellow RAM members DALEY and MISELIS, as

   they assault mutliple counter protestors on August 12,2017.




         25.     In other video footage from the violence, WHITE can be seen headbutting a
  female counter protestor, while DALEY assists him in the assault.(Photo: below,left). The
  headbutt results in a severe laceration. (Photo: below,right).




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   MISELIS, in the following screen shots of video footage used by Propublicaorg in an article

   about MISELIS' alleged membership in RAM,appears to be shoving an Afiican American to the

   ground and then striking him MISELIS,like DALEY,again has his fists taped in the manner of
   boxers and MMA fighters;




  Another screen shot from video footage depicts DALEY attacking a man without provocation:




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   And later in the same video, MISELIS can be seen kicking the same man as he is falling to the

   ground:




                                        i




  In the following screen shot, DALEY can be seen in the process of grabbing a female counter-
  protestor by the next and body slamming her to the ground.
                                                19
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         i                               i




   A scree^hot from the footage below shows GILLEN, DALEY, WHITE, and MBELIS,acting
   in concert with each other as they continue to engage in acts of violence towards coimter
   protestors.




                                                     m




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           26.     The following photograph, taken by the Affiant on August 12, 2017 in

   Emancipation Park (Market Street Park,) shows DALEY, WHITE, MISELIS and GILLEN,

   among         others,     posing       behind       a      banner       representing       RAM:




         27.     Later that day, but still before the official 12:00pm start of the rally, the white

  supremacists in Emancipation Park started to clash with counter-protestors at the entrance to the

  park located at 2^^ Street NE and Market Street NE. During this extended incident, both sides
  threw water bottles at each other. Miselis and Daley are captured in photos and on video

  throwing water bottles into the crowd ofcounter-protestors. After Daley throws the water bottle,




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    he stands up        on sign and         makes a "throat-slashing" gesture to            the crowd:




           28.     Bank records obtained by the FBI for DALEY indicate that his credit card made

   purchases at WalMart store # 1780 in Charlottesville on August 11, 2017. The Affiant obtained
   copies ofthose receipts, which revealed that DALEY,upon amving in Charlottesville, purchased
   rolls of white athletic tape, black spray paint, and a folding tactical knife.

          29.     After returning to Southern California, Daley made various admissions about

  committing acts ofviolence in Charlottesville and at other ralhes in California.

                                             CONCLUSION


          30.     Based on the information set forth in this affidavit, I submit that there is probable

  cause to believe:


          31.     On or about August 11, 2017, Defendant BENJAMIN DRAKE DALEY,

  MICHAEL MISELIS, COLE WHITE, and THOMAS GILLEN traveled in interstate commerce

  from California to Charlottesville, Virginia, within the Westem District of Virginia, with intent

  (a) to incite a riot,(b)to organize, promote, encourage, participate in, and carry on in a riot,(c)
                                                    22
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   to commit an act of violence in furtherance of a riot, and (d) to aid or abet any person inciting

   and participating in or carrying on in a riot and conunitting any act of violence in fortherance of

   a riot; and during the course of such travel or thereafter performed or attempted to perform

   multiple overt acts, including but not limited to: inciting, promoting, encouraging, participating

   in, and carrying on in a riot, committing acts of violence in furtherance of a riot, and aiding and

   abetting other persons inciting and participating in and carrying on in a riot and committing acts

  of violence in fiirtherance of a riot, in violation of Title 18, United States Code,Sections 2101,2.

          Based on the forgoing,I request that the Court issue the proposed arrest warrant.

                                                      Respectfully submitted,



                                                      Dino P. Cappuzzo
                                                      Special Agent/Task Force Officer
                                                      FBI




  Subscribed and sworn to before me on                                      ,201JL



                             MAG              JUDGE




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                                                             JULIA
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                                        ATTACHMENT




                                                                           CLERK'S OFFICE U|.D^T.COURT
                                                                               at CHAjU-OTTESViLE,VA
                                                                                       FILED

                       IN THE UNITED STATES DISTRICT COURT                        OCT 1 0 2018
                      FOR THE WESTERN DISTRICT OF VIRGINIA                      JUl.»C.OyDL%CL^'»^
                              CHARLOTTESVILLE DIVISION



UNITED STATES OF AMERICA

               V.                                   Crimmal Number:
                                                                          3'\%o£ixoS5
BENJAMIN DRAKE DALEY                               In Violation of:
MICHAEL PAUL MISELIS
THOMAS WALTER GILLEN                               18 U.S.C.§ 371(Conspiracy to Riot)
COLE EVAN WHITE
                                                   18U.S.C.§2101 (Riots)




                                   INDICTMENT


The Grand Jury charges;

                                         Introduction


       1.     In or around the spring and summer of2017,an event referred to as the Unite the
Right" rally was organized and scheduled to occur on August 12, 2017, at Emancipation Park in
Charlottesville, Virginia, which is within the Westem District of Virginia. This rally was
widely promoted on social media and internet sites associated with white-supremacist individuals
and groups, and was scheduled to feature a lineup of well-known white supremacist speakers.
       2.     On August 11, 2017, the evening prior to the scheduled Unite the Right rally,
hundreds ofindividuals engaged in a torch-lit march on or around the grounds of the University
of Virginia in Charlottesville, Virginia. Throughout the march, the participants engaged in
chants promoting or expressing white-supremacist and other racist and anti-Semitic views. The
march culminated near the University of Virginia's Rotunda where a smaller group of
individuals, including University of Virginia students, had gathered around a statue of Thomas
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 Jefferson to protest the torch-lit march. Members of this group held a banner that read: "VA

 Students Act Against White Supremacy." Chanting and bearing torches, the march participants
 encircled the Thomas Jefferson statue and surrounded the protestors. Violence ensued.

        3.      On the morning of August 12, 2017, multiple groups and individuals espousing
 white-supremacist and other anti-Semitic and racist views arrived in and around the vicinity of
 Emancipation Park in Charlottesville, Virginia, to attend the Unite the Right rally. After several
 instances of violence prior to the scheduled start of the rally, law enforcement declared an
"unlawful assembly" and required rally participants to disperse.

                 The Defendants and the Rise Above Movemeni in California

        4.     Beginning as early as in or about March 2017, the exact date being unknown to
the Grand Jury, the defendants, BENJAMIN DRAKE DALEY, MICHAEL PAUL MISELIS,
THOMAS WALTER GILLEN, and COLE EVAN WHITE, residents of California, associated
with a white-supremacist organization that eventually became known as the Rise Above
Movement," or"RAM."

        5.     RAM openly identified itself as "alt-right" and "nationalist" and its members and
associates frequently posted photographs and videos of its adherents engaging in physical
training and mixed martial arts(MMA)street-fighting techniques, along with references to their
alt-ri^t and nationalist beliefs and ideology.

       6.      RAM and its members and associates also expressed, through various
social-media platforms and other means, anti-Semitic, racist, and white-supremacist views and
promoted violence against those they believed held opposing political views.
       7.      From in or about March 2017,to in or about August 2017, RAM and its members

and associates, including the defendants, BENJAMIN DRAKE DALEY, MICHAEL PAUL
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 MISELIS, THOMAS WALTER GILLEN, and COLE EVAN WHITE, traveled to multiple

 political rallies and organized demonstrations in California and Virginia, where they prepared to
 and engaged in acts of violence against numerous individuals.
                                          COUNT ONE
                  (Conspiracy to Commit an Offense Against the United States)
                                          18U.S.C.§371

        8.      The allegations set forth in paragraphs 1 through 7 are incorporated by reference
as iffully set forth herein.

       9.       Beginning as early as in or about March 2017, the exact date being unknown to
the Grand Jury, and continuing to on or about the date ofthis Indictment, in the Western District
of Virginia and elsewhere, the defendants, BENJAMIN DRAKE DALEY, MICHAEL PAUL
MISELIS, THOMAS WALTER GILLEN, and COLE EVAN WHITE, did knowingly and
willfiilly conspire, combine, confederate, and agree together with each other and with other
individuals both known and unknovra to the Grand Jury, to commit an offense against the United
States, namely: traveling in interstate commerce and using a facility of interstate commerce with
intent (a) to incite a riot,(b) to organize, promote, encourage, participate in, and carry on in a
riot,(c)to commit an act of violence in furtherance of a riot, and (d)to aid or abet any person
inciting and participating in or carrying on in a riot and comrmtting any act of violence in
furtherance of a riot; and during the course of such travel or use thereafter performed and
attempted to perform any other overt act for such purpose, in violation of Title 18, United States
Code,Section 2101.

                                           Overt Acts


       10.     During and in furtherance of the conspiracy, and to effect the object thereof, the
defendants BENJAMIN DRAKE DALEY, MICHAEL PAUL MISELIS, THOMAS WALTER
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 GILLEN, and COLE EVAN WHITE, and others co-conspirators known and unknown to the

 Grand Jury, committed the following overt acts, among others, in the Western District of

 Virginia and elsewhere:

 Huntington Beach. CA.on or about March 25,2017

               a.     On or about March 25,2017,traveled to and attended a purported political

                      rally in or around Huntington Beach, California; and

              b.     committed, participated in, and aided and abetted one or more acts of
                      violence against individuals attending the purported political rally in
                     Huntington Beach, California.

Berkeley. CA on or about April 15,2017

              c.     On or about April 15,2017, reserved and rented an 11-passenger van with
                     a debit card to travel from Southern California to in or around Berkeley,

                     California;

              d.     traveled to and attended a purported political rally in or around Berkeley,

                     California; and

              e.     after traveling in interstate commerce and using a facility in interstate
                     commerce, committed, participated in, and aided and abetted one or more

                     acts of violence against individuals attending the purported political rally
                     in Berkeley, California.

Albcmarle CountY and Charlottesville. VA.on or about August 11-12.2017
              f.     During the summer of 2017 and prior to August 11, 2017, purchased
                     flights, with debit and credit cards, from Los Angeles and San Francisco,
                     California, to Charlottesville, Virginia;
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            g.    During the summer of 2017 and prior to August 11, 2017, reserved and

                  rented lodging within Charlottesville, Virginia, for the dates of August 11

                  through August 13,2017;

            h.    On or about August 10 and 11, 2017, traveled in interstate commerce by

                  boarding commercial flights and flying from Los Angeles and San

                  Francisco, California, to Charlottesville;

            i.    On or about August 11, 2017, having arrived in Charlottesville, purchased

                 athletic tape and baseball helmets from a local Wal-Mart store with debit

                 cards and cash obtained by debit card;

           j.    On or about the evening of August 11,2017, obtained torches and attended
                 a torch-lit march on or around the grounds ofthe University of Virginia in

                 Charlottesville and Albemarle County, Virginia;

           k.    On or about the evening of August 11, 2017, incited, promoted,

                 encouraged, participated in, and carried on in a riot, committed acts of
                 violence in furtherance of a riot, and aided and abetted other persons

                 inciting and participating in and carrying on in a riot and committing acts
                 of violence in furtherance of a riot on or around the grounds of the

                 University of Virginia in Charlottesville and Albemarle County, Virgima;
           1.    On or about August 12, 2017, prepared to commit acts of violence by,

                 among other things, wrapping their hands with athletic tape.

           m.    On or about August 12, 2017, attended the Unite the Right rally in and
                 around the vicinity ofEmancipation Park in Charlottesville, Virginia;
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                 n.      On or about August 12, 2017, incited, promoted, encouraged, participated

                        in, and carried on in a riot, committed acts of violence in furtherance of a

                        riot, and aided and abetted other persons inciting and participating in and

                        carrying on in a riot and committing acts of violence in furtherance of a

                        riot in and aroimd the vicinity of Emancipation Park in Charlottesville,

                        Virginia; and

                0.      On or about August 13, 2017, or the days thereafter, traveled on return

                        flights from Charlottesville to Los Angeles and San Francisco, California.
        11.     All in violation of Title 18, United States Code,Section 371.

                                          COUNT TWO
                                    (Travel with Intent to Riot)
                                           18 U.S.C. §2101

        12.     The allegations set forth in paragraphs 1 through 7 are incorporated by reference
as iffliUy set forth herein.

        13.     On or about August 11, 2017, the defendants, BENJAMIN DRAKE DALEY,
MICHAEL PAUL MISELIS, THOMAS WALTER GILLEN, and COLE EVAN WHITE,
traveled in interstate commerce from Califorma to Charlottesville, Virginia, within the Western

District of Virginia, with intent (a) to incite a riot, (b) to organize, promote, encourage,
participate in, and carry on in a riot,(c)to commit an act of violence in furtherance of a riot, and
(d)to aid or abet any person inciting and participating in or carrying on in a riot and committing
any act of violence in furtherance of a riot; and during the course of such travel or thereafter
performed or attempted to perform any other overt act, including but not limited to:
               a.      On or about the evening of August 11, 2017, on or around the grounds of

                       the University of Virginia in Charlottesville, Virgima, BENJAMIN
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                     DRAKE DALEY, MICHAEL PAUL MISELIS, THOMAS WALTER

                     GILLEN, and COLE EVAN WHITE incited, promoted, encouraged,

                     participated in, and carried on in a riot, committed acts of violence in
                     furtherance of a riot, and aided and abetted other persons inciting and

                     participating in and carrying on in a riot and committing acts of violence in
                    furtherance ofa riot.


             b.      On or about August 12, 2017, in and around the vicinity of Emancipation
                    Park in Charlottesville, Virginia, BENJAMIN DRAKE DALEY,

                    MICHAEL PAUL MISELIS, THOMAS WALTER GILLEN, and COLE

                    EVAN WHITE incited, promote4 encouraged, participated in, and carried

                    on in a riot, committed acts of violence in furtherance of a riot, and aided

                    and abetted other persons inciting and participating in and carrying on in a
                    riot and committing acts ofviolence in furtherance of a riot.

      2. • All in violation of Title 18, United States Code, Sections 2101,2.


                lO^i
A TRUE BILL this[OL day of October,2018
                                                              /.s/FOREPERSON
                                                                FOREPERSON



THOMAS T. CULLEN
UNITED STATES ATTORNEY
